
		
				IN RE AMENDMENT OF RULE 6.2A RULES GOVERNING DISCIPLINARY PROCEDURES2023 OK 37Decided: 04/10/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 37, __ P.3d __

				

IN RE: AMENDMENT OF RULE 6.2A, RULES GOVERNING DISCIPLINARY PROCEDURES, 5 O.S. 2011, ch. 1, app. 1-A




ORDER


¶1 The Court hereby amends Rule 6.2A, Rules Governing Disciplinary Procedures, (RGDP), 5 O.S. 2011, ch.1, app. 1-A, as shown on the attached Exhibits A and B.

¶2 The amended rule shall be effective June 1, 2023.

¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 10TH DAY OF APRIL, 2023.


/S/CHIEF JUSTICE


CONCUR: KANE, C.J., ROWE, V.C.J., KAUGER, EDMONDSON, COMBS, GURICH, DARBY, and KUEHN, JJ.;

NOT VOTING: WINCHESTER, J.


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Exhibit A

Rules Governing Disciplinary Proceedings.
Chapter 1, App. 1-A
Rule 6. Formal Proceedings Before Supreme Court and Professional Responsibility Tribunal.
§6.2A. Emergency Interim Suspension Orders and Related Relief.

(1) Verified Complaint and Service.

The General Counsel, with the concurrence of the chairperson or vice-chairperson of the Professional Responsibility Commission, upon receipt of sufficient evidence demonstrating that a lawyer subject to these Rules has committed conduct in violation of the Oklahoma Rules of Professional Conduct, or is personally incapable of practicing law as set forth in Rule 10 hereof, and where such conduct poses an immediate threat of substantial and irreparable public harm, may file a verified complaint in accordance with Rule 6 hereof requesting interim suspension and other appropriate relief. A copy of the complaint shall be served personally or by certified mail, return receipt requested, upon the respondent by General Counsel; provided that, if a respondent refuses to sign for, or otherwise does not claim the certified mail, then the General Counsel may serve the complaint and any further papers, notices and orders in accordance with Rule 12.1 hereof.

(2) Immediate Interim Suspension.

(a) Upon filing of the verified complaint, the Court may issue an order directing the respondent to object and show cause within ten (10) days why such order of interim suspension should not be entered.

(b) In the event such an objection is timely filed, the matter shall be set for hearing at the earliest possible time. Such hearing may be before the Court, or any Justice thereof, may rule on the matter or the Court may refer the matter to the Professional Responsibility Tribunal for hearing and recommendations.

(3) Related Relief.

(a) Any order of interim suspension may include such other orders to the respondent as may be necessary to preserve and recover funds and other property of respondent's clients or other persons, and the Court may, upon its own motion or upon application of the General Counsel, issue an order authorizing the General Counsel to initiate civil proceedings in the appropriate court to obtain an order to preserve any such funds maintained in a financial institution or elsewhere.

(b) In the event that the respondent does not file an objection to the order as set forth in Rule 6.2A(b) above, or in the event that such an objection is timely filed, but, after rulinghealing on the matter, the order is entered, and the Court may, upon its own motion or upon application of the General Counsel:

(i) require the respondent to give written notices to affected clients and otherwise comply with Rule 9.1 hereof within ten (10) days of the rulinghearing or, where no timely objection to the order was filed, within ten (10) days of the expiration of the time for filing such an objection; and/or

(ii) issue an order requiring the appointment of an attorney(s) to wind up the respondent's business in accordance with Rule 9.3 hereof.

(4) Further Proceedings-Accelerated.

Disposition. In addition to the above, the respondent shall file an answer to the complaint with the Chief Justice pursuant to Rule 6.4, and, except as provided above, all proceedings thereafter shall be conducted in accordance with the Rules Governing Disciplinary Proceedings where no interim suspension is sought; provided that, the respondent may include in his/her answer a request for accelerated disposition, and, thereafter, the entire proceedings shall be concluded by the Professional Responsibility Tribunal and the Court without appreciable delay.

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Exhibit B

Rules Governing Disciplinary Proceedings.
Chapter 1, App. 1-A
Rule 6. Formal Proceedings Before Supreme Court and Professional Responsibility Tribunal.
§6.2A. Emergency Interim Suspension Orders and Related Relief.

(1) Verified Complaint and Service.

The General Counsel, with the concurrence of the chairperson or vice-chairperson of the Professional Responsibility Commission, upon receipt of sufficient evidence demonstrating that a lawyer subject to these Rules has committed conduct in violation of the Oklahoma Rules of Professional Conduct, and where such conduct poses an immediate threat of substantial and irreparable public harm, may file a verified complaint in accordance with Rule 6 hereof requesting interim suspension and other appropriate relief. A copy of the complaint shall be served personally or by certified mail, return receipt requested, upon the respondent by General Counsel; provided that, if a respondent refuses to sign for, or otherwise does not claim the certified mail, then the General Counsel may serve the complaint and any further papers, notices and orders in accordance with Rule 12.1 hereof.

(2) Immediate Interim Suspension.

(a) Upon filing of the verified complaint, the Court may issue an order directing the respondent to object and show cause within ten (10) days why such order of interim suspension should not be entered.

(b) In the event such an objection is timely filed, the Court, or any Justice thereof, may rule on the matter or the Court may refer the matter to the Professional Responsibility Tribunal for hearing and recommendations.

(3) Related Relief.

(a) Any order of interim suspension may include such other orders to the respondent as may be necessary to preserve and recover funds and other property of respondent's clients or other persons, and the Court may, upon its own motion or upon application of the General Counsel, issue an order authorizing the General Counsel to initiate civil proceedings in the appropriate court to obtain an order to preserve any such funds maintained in a financial institution or elsewhere.

(b) In the event that the respondent does not file an objection to the order as set forth in Rule 6.2A(b) above, or in the event that such an objection is timely filed, but, after ruling on the matter, the order is entered, and the Court may, upon its own motion or upon application of the General Counsel:

(i) require the respondent to give written notices to affected clients and otherwise comply with Rule 9.1 hereof within ten (10) days of the ruling or, where no timely objection to the order was filed, within ten (10) days of the expiration of the time for filing such an objection; and/or

(ii) issue an order requiring the appointment of an attorney(s) to wind up the respondent's business in accordance with Rule 9.3 hereof.

(4) Further Proceedings-Accelerated.

Disposition. In addition to the above, the respondent shall file an answer to the complaint with the Chief Justice pursuant to Rule 6.4, and, except as provided above, all proceedings thereafter shall be conducted in accordance with the Rules Governing Disciplinary Proceedings where no interim suspension is sought; provided that, the respondent may include in his/her answer a request for accelerated disposition, and, thereafter, the entire proceedings shall be concluded by the Professional Responsibility Tribunal and the Court without appreciable delay.

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